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    12    Listing continues on next page

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    16                         UNITED STATES DISTRICT COURT

    17          CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

    18   Jenny Lisette Flores, et al.,           Case No. CV 85-4544-DMG(AGRx)

    19                    Plaintiffs,            NOTICE OF MOTION AND MOTION TO
                                                 ENFORCE SETTLEMENT
    20         v.
    21                                           Before:    Hon. Dolly M. Gee
         Jefferson B. Sessions, Attorney         Hearing:   May 18, 2018
    22   General, et al.,                        Time:      9:30 a.m.
    23                                           Room:      1st St. Courthouse
                          Defendants.
                                                            Courtroom 8C
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Case 2:85-cv-04544-DMG-AGR Document 409 Filed 04/16/18 Page 2 of 3 Page ID #:15196



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                                                1        NOTICE OF MOTION AND MOTION TO ENFORCE
                                                                                    SETTLEMENT
                                                                     CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 409 Filed 04/16/18 Page 3 of 3 Page ID #:15197



     1         To Defendants and their attorneys of record:
     2         Please take notice that on May 18, 2018, at at 9:30 a.m. or as soon thereafter
     3   as counsel may be heard, Plaintiffs will and do hereby move the Court for a class-
     4   wide order requiring Defendants to cure breaches of the settlement approved by this
     5   Court on January 28, 1997 (“Settlement”), as described in the accompanying
     6   memorandum of law.
     7         This motion is based upon the memorandum of law and exhibits filed
     8   concurrently herewith, and all other matters of record; it is brought following a
     9   meeting of counsel pursuant to Local Rule 7-3 and ¶ 37 of the Settlement on
    10   January 2, 2018.
    11

    12   Dated: April 16, 2018.                    CARLOS R. HOLGUÍN
                                                   PETER A. SCHEY
    13
                                                   Center for Human Rights &
    14                                             Constitutional Law
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                                                   LEECIA WELCH
    16                                             National Center for Youth Law
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                                                   HOLLY COOPER
    18                                             CARTER WHITE
                                                   University of California Davis School
    19
                                                   of Law
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                                                    /s/
    22                                              Carlos Holguín
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                                                   2            NOTICE OF MOTION AND MOTION TO ENFORCE
                                                                                           SETTLEMENT
                                                                            CV 85-4544-DMG (AGRX)
